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                                                             #942
AO 245 (Rev. II/II) Judgment in a Criminal Case



                                      UNITED STATES DISTRICT COURT
                                                               for the
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                                                    Southern District of Illinois                    OliTHllR/:·5 ~'ts,.,,,,..
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                  United States of America                       )                   . a C r1mma
                                                                         J ud gmen t tn     . . I C ase            .. ;"''•-. ILI.tl"r
                                                                                                           &, ""n ~,.,-,         'No18
                                 v.                              )       (For Offenses Committed Prior to November I, J9il7)

                      George Paul Brock
                                                                 j Case No. 87-40070-03
                                                                 ) Melissa Day, AFPD
                       (Name of Defendant)                       )   Defendant's Attorney
                                                                 )
                                                                 )
THE DEFENDANT:
r.f pleaded guilty to count(s) 2 of the Supereding Indictment
0   was found guilty on count(s)                                                              _______ __                     ,



    after a plea of not guilty.

    Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offenses:

                                                                                                Date Offense                 Count
Title & Section                  Nature of Offense                                               Concluded                Number(s)
21 :U.S.C. 846                   Conspiracy to Distribute Marijuana                             02/28/1987                2s




0   The defendant has been found not guilty on count(s) _________
    and is discharged as to such count(s).
g   Count(s) 1s                                     if
                                                (is) 0 (are) dismissed on the motion of the United States.

IT IS THE JUDGMENT OF THIS COURT THAT:
 The defendant is sentenced to the Custody of the Attorney General for a period of 15 years . The Court sentences the
 defendant to 15 years, but gives the defendant 10 years credit against that sentence for a total sentence of 5 years. This
 credit would represent any & all credit due the defendant of any and all time or conditions of confinement which he has
 spent as a result of this case.




In addition to any conditions of probation imposed above. IT IS ORDERED that the conditions of probation set out on
the reverse of this judgment are imposed.
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                                                      CONDITIONS OF PROBATION
      While the defendant is on probation pursuant to this judgment, the defendant:
I)    shall not commit another federal, state or local crime;
2)    shall not leave the judicial district without the pennission of the court or probation officer;
3)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
4)    shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
5)    shall support his or her dependents and meet other family responsibilities;
6)    shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other acceptable
      reasons;
7)    shall notify the probation officer within seventy-two hours of any change in residence or employment;
8)    shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any narcotic or other
      controlled substance, or any paraphernalia related to such substances, except as prescribed by a physician;
9)    shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
10)   shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a felony
      unless granted permission to do so by the probation officer;
II)   shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any
                    contraband observed in plain view by the probation officer;
12)   shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
13)   shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the pennission
      of the court;
14)   as directed by the probation officer, shall notify third parties of risks that may be occasioned by defendant's criminal record or
      personal history or characteristics, and shall pennit the probation officer to make such notifications and to confinn the
      defendant's compliance with such notification requirement;
15)   shall pay any fine or obligation imposed by this judgment;
16)   shall not possess a firearm or destructive device.

~IT IS FURTHER ORDERED that thejlefendant shall pay a special assessment of$ s,_,o"-.0,_,0.___ _ _ _ ' for count(s)
 2s                  , which shall be due        ff immediately LJ as follows:

IT IS FURTHER ORDERED thatthe defendant shall notifY the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all ffnes, restitution, costs, and special assessments imposed by this
judgment are fully paid.
~The court orders commitment to the custody of the Attorney General and recommends:
That the defendant be placed in a Parolable lnstutition nearest to his home.
Last Four Digits of Defendant's Soc. Sec. 8029                                                   06/28/2012
Defendant's Year of Birth:               1949
City and State of Defendant's Residence:
Bayonne, New Jersey 07002

                                                                                                                     District Judge
                                                                                              Name and Title of Judge



                                                                RETURN
I have executed this judgment as follows:




Defendant delivered on          _ _ _ _ _ tu ___________________________________________________                                      m
-----------------------------------------with a certified copy of this judgment.


                                                                                                 United States Marshal

                                                                         By __________~~7>~~-----------
                                                                                       Deputy Marshal
